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Admitted in Georgia
and California (Inactive)

Tiana Garner, Of Counsel



April 20, 2014

Courtroom Deputy
United States District Court
75 Spring Street, S.W.
Atlanta, Georgia 30303

           Re:        United States v. Christopher Atkins, 1:13-CR-417-WSD-JSA
                      United States v. Ramiro Antunez-Pineda, 1:13-CR-382-JEC-LTW
                      United States v. Monyette Mclaurin, 1:13-CR-00078-JFK
                      United States v. Michael Johnson, 1:11-CR-255-TWT
                      United States v. Darnell Portis, 1:13-CR-00340-SCJ-JSA
                      United States v. Christopher Hitchcock, 1:14-CR-007-01-TWT-AJB


Dear Courtroom Deputy:

        This letter is to notify the Court pursuant to LCrR 57.1E(4), NDGa, that I will be out of
the office on the following dates:

           July 24-28, 2014

       I respectfully request that the court not schedule any court appearances in the above-
referenced matters for those dates.

Sincerely,

The W.H. Thomas Firm, LLC

William H. Thomas Jr.
William H. Thomas Jr.
